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            ☰                              Android Developers Blog                                                     🔍




               28 September 2020




               Listening to Developer
               Feedback to Improve Google
               Play

               Posted by Sameer Samat, Vice President, Product Management

               Developers are our partners and by pairing their creativity and innovation with our
               platforms and tools, together we create delightful experiences for billions of people
               around the world. Listening carefully to their feedback is an important part of how
               we continue to make Android better with each release and improve how mobile app
               stores work. In an April 2019 blog post we shared some updates we made to
               Android APIs and Play Policies based on developer feedback. And today, we
               wanted to share some additional insights we’ve gained from developer feedback
               and how we’re taking that input to improve Google Play and Android. Some of the
               key themes we’ve heard include:




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            ☰           Supporting developers’ ability to choose how they distribute their apps
                                    Android Developers Blog                                                            🔍
                        through multiple app stores on different platforms (mobile, PC, and console),
                        each with their own business model competing in a healthy marketplace;

                        Clarifying our policies regarding who needs to use Google Play’s billing
                        system and who does not;

                        Ensuring equal treatment for all apps, including first-party and third-party
                        apps, on our platforms;

                        Allowing developers to connect and communicate directly with their
                        customers;

                        Enabling innovation and ensuring our policies embrace new technologies that
                        can help drive the consumer experience forward.

               We’d like to share our perspective on each of these points.




               Choice of stores

               We believe that developers should have a choice in how they distribute their apps
               and that stores should compete for the consumer’s and the developer’s business.
               Choice has always been a core tenet of Android, and it’s why consumers have
               always had control over which apps they use, be it their keyboard, messaging app,
               phone dialer, or app store.

               Android has always allowed people to get apps from multiple app stores. In fact,
               most Android devices ship with at least two app stores preinstalled, and consumers
               are able to install additional app stores. Each store is able to decide its own
               business model and consumer features. This openness means that even if a
               developer and Google do not agree on business terms the developer can still
               distribute on the Android platform. This is why Fortnite, for example, is available
               directly from Epic's store or from other app stores including Samsung's Galaxy App
               store.



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               That said, some developers have given us feedback on how we can make the user
            ☰experience for installing
                                Android   Developers
                                       another           on their device even better. In response🔍
                                                      Blog
                                               app store
               to that feedback, we will be making changes in Android 12 (next year’s Android
               release) to make it even easier for people to use other app stores on their devices
               while being careful not to compromise the safety measures Android has in place.
               We are designing all this now and look forward to sharing more in the future!




               Clarity on billing policies

               As we mentioned, each Android app store is able to decide its own business model
               and consumer features. For Google Play, users expect a safe, secure and seamless
               experience, and developers come to Play for powerful tools and services that help
               them build and grow their businesses. Our developer policies are designed to help
               us deliver on these expectations and Google Play's billing system is a cornerstone
               of our ongoing commitment. Consumers get the benefit of a trusted system that
               allows them to safely, securely, and seamlessly buy from developers worldwide.
               Google protects consumers’ payment info with multiple layers of security, using
               one of the world’s most advanced security infrastructures. For developers, Google
               Play’s billing system provides an easy way for billions of Android users to transact
               with them using their local, preferred method of payment.

               We’ve always required developers who distribute their apps on Play to use Google
               Play’s billing system if they offer in-app purchases of digital goods, and pay a
               service fee from a percentage of the purchase. To be clear, this policy is only
               applicable to less than 3% of developers with apps on Google Play. We only collect
               a service fee if the developer charges users to download their app or they sell in-
               app digital items, and we think that is fair. Not only does this approach allow us to
               continuously reinvest in the platform, this business model aligns our success
               directly with the success of developers.

               But we have heard feedback that our policy language could be more clear regarding
               which types of transactions require the use of Google Play’s billing system, and that



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               the current language was causing confusion. We want to be sure our policies are
            ☰clear and up to dateAndroid
                                  so they Developers  Blog
                                          can be applied                                         🔍
                                                         consistently and fairly to all developers,
               and so we have clarified the language in our Payments Policy to be more explicit
               that all developers selling digital goods in their apps are required to use Google
               Play’s billing system.

               Again, this isn’t new. This has always been the intention of this long standing policy
               and this clarification will not affect the vast majority of developers with apps on
               Google Play. Less than 3% of developers with apps on Play sold digital goods over
               the last 12 months, and of this 3%, the vast majority (nearly 97%) already use
               Google Play's billing. But for those who already have an app on Google Play that
               requires technical work to integrate our billing system, we do not want to unduly
               disrupt their roadmaps and are giving a year (until September 30, 2021) to
               complete any needed updates. And of course we will require Google’s apps that do
               not already use Google Play’s billing system to make the necessary updates as
               well.




               Equal treatment

               Our policies apply equally to all apps distributed on Google Play, including Google’s
               own apps. We use the same standards to decide which apps to promote on Google
               Play, whether they're third-party apps or our own apps. In fact, we regularly promote
               apps by Google’s competitors in our Editors Choice picks when they provide a great
               user experience. Similarly, our algorithms rank third-party apps and games using
               the same criteria as for ranking Google's own apps.




               Communicating with customers

               Developers have told us it is very important to be able to speak directly with their
               customers without significant restrictions. As app developers ourselves, we agree
               wholeheartedly and our policies have always allowed this.



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               That said, developers have asked whether they can communicate with their
            ☰customers directlyAndroid Developers
                               about pricing,         Blogalternative ways to pay beyond their 🔍
                                              offers, and
               app via email or other channels. To clarify, Google Play does not have any
               limitations here on this kind of communication outside of a developer’s app. For
               example, they might have an offering on another Android app store or through their
               website at a lower cost than on Google Play.

               We understand the importance of maintaining the customer relationship. As such,
               we have also always allowed developers to issue refunds to their customers and
               provide other customer support directly.




               Enabling innovation

               Developers are coming up with cool things all the time. Using their feedback, we are
               always trying to adjust our approach to ensure that we continue to help enable new
               forms of innovation. For example, recent innovations in game streaming have
               generated new game experiences that are available on Google Play, including
               Microsoft’s recent launch of Xbox cloud gaming in the Xbox Game Pass Android
               app.




               Keep the feedback coming

               We really appreciate all the feedback we have received from our developer
               community and believe the Android ecosystem has never been a more exciting
               place to be.

               It is exciting to see developers such as Duolingo, Truecaller, Hyperconnect, Any.do,
               and Viber be so successful and grow their business on Android and reach a diverse
               audience. These kinds of services delight consumers and we are thrilled to have
               built a platform that can support them.

               We’ve also published some additional frequently asked developer questions here.


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